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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
           Plaintiff,                             )
                                                  )
     vs.                                          )          Case No. SI4:05CR280ERW(MLM)
                                                  )
PAUL KINNEY, ET AL,                               )
                                                  )
           Defendants.                            )


                                              ORDER

       At the Waiver Hearing scheduled on Thursday, September 15, 2005, the following

defendants and their attorneys shall appear:

                  Carolyn Mayberry                    Jeff Goldfarb

                  John Radford, Jr.                   Shawn Goulet

                  Anna Fouste                         Doug Pribble



       Any defendant who has previously filed Motions to Suppress and wishes to

withdraw such Motions shall appear with counsel.



                                                  /s/Mary Ann L. Medler
                                                  MARY ANN L. MEDLER
                                                  UNITED STATES MAGISTRATE JUDGE



Dated this 13th         day of September, 2005.
